






Opinion issued February 20, 2003















In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-01188-CR

____________


KRISEAN JERMAINE JOHNSON, Appellant


V.


THE STATE OF TEXAS, Appellee







On Appeal from the County Cout at Law No. 2

Galveston County, Texas

Trial Court Cause No. 146876






MEMORANDUM  OPINION

	We are without jurisdiction to entertain this appeal.  Appellant's request for
habeas corpus relief was denied on June 27, 2002.  Although there is no motion for
new trial contained in the clerk's record, the docket sheet contains a notation that
appellant filed a motion to reconsider on July 10, 2002.  Assuming the motion to
reconsider was filed on July 10, 2002, appellant should have filed his notice of appeal
by September 25, 2002.  See Tex. R. App. P. 26.2(a)(2) (the notice of appeal must be
filed within 90 days after the day sentence is imposed or suspended in open court if
the defendant timely files a motion for new trial).  However, appellant did not file his
notice of appeal until October 21, 2002, 26 days late.

	We therefore dismiss the appeal for lack of jurisdiction.  Slaton v. State, 981
S.W.2d 208, 209-10 (Tex. Crim. App. 1998); Olivo v. State, 918 S.W.2d 519, 522
(Tex. Crim. App. 1996).

PER CURIAM

Panel consists of Chief Justice Radack and Justices Nuchia and Hanks. 

Do not publish.  Tex. R. App. P. 47.


